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                            Exhibit 1

                      DOE’s RPD Set One
           Case 2:17-cv-01731-TSZ Document 51-1 Filed 08/09/18 Page 2 of 28




 1

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 7

 8
                         U.S. DISTRICT COURT
 9
               FOR THE WESTERN DISTRICT OF WASHINGTON
10                            AT SEATTLE
11

12     STRIKE 3 HOLDINGS, LLC, a
       Delaware corporation,
13                                          Case No. 2:17-cv-01731-TSZ
14           Plaintiff,
                                            DEFENDANT’S REQUEST FOR
15                                          PRODUCTION OF DOCUMENTS
             vs.
                                            TO PLAINTIFF
16
       JOHN DOE, subscriber assigned IP
17                                          SET: ONE
       address 73.225.38.130,
18
             Defendant.
19

20

21   PROPOUNDING PARTY:           JOHN DOE, subscriber assigned IP address
                                  73.225.38.130
22

23   RESPONDING PARTY:            STRIKE 3 HOLDINGS, LLC

24   SET NUMBER:                  ONE (1)
25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                        EDMONDSON IP LAW
                                                       Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                       Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ             1                TEL. 503.336.3749 • FAX 503.482.7418
           Case 2:17-cv-01731-TSZ Document 51-1 Filed 08/09/18 Page 3 of 28




 1
       DEFENDANT’S FIRST SET OF REQUESTS FOR PRODUCTION TO
                                      PLAINTIFF
 2
           Pursuant to Fed.R.Civ.P. 34, Defendant, JOHN DOE subscriber assigned
 3
     IP address 73.225.38.130 (“DOE”), hereby requests Plaintiff, STRIKE 3
 4
     HOLDINGS, LLC (“S3H”) produce for inspection and copying the documents
 5
     and things, in accordance with the Definitions and Instructions included herein,
 6
     and to respond within the time prescribed by the applicable Federal Rules of
 7
     Civil Procedure.
 8
           Time and Place of Production: These documents are to be produced for
 9
     inspection and copying at Edmondson IP Law, LLC, 3699 NE John Olsen Ave,
10
     Hillsboro, OR 97124, or at the Miles Way Coyne c/o Jason Aldred 2102
11
     Carriage Dr SW, Suite a-103, Olympia, WA 98502, on July 6th by 10 a.m.
12
           In the alternate, PDF copies and/or electronic copies may be mailed to the
13
     Defendant’s counsel’s office at 3699 NE John Olsen Ave, Hillsboro, OR 97124
14
     or sent via email to Defendant’s counsel’s at jcedmondson@edmolaw.com, with
15
     a copy to kirenr@edmolaw.com.
16

17
                                   INSTRUCTIONS
18
     Compliance with this Request is requested to be made in accordance with the
19
     following:
20
           1.     If you at any time had possession, custody, or control of a
21
     document called for under this request and if such document has been lost,
22
     destroyed, purged, or is not presently in your possession, custody, or control,
23
     you shall describe the document, the date of its loss, destruction, purge, or
24
     separation from possession, custody, or control and the circumstances
25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                            EDMONDSON IP LAW
                                                           Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                           Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ               2                  TEL. 503.336.3749 • FAX 503.482.7418
            Case 2:17-cv-01731-TSZ Document 51-1 Filed 08/09/18 Page 4 of 28




 1
     surrounding its loss, destruction, purge, or separation from possession, custody,
     or control.
 2
           2.      If you assert that any document called for by this request is
 3
     protected against disclosure as a “work product” or by privilege of any kind
 4
     whatsoever, you shall provide the following information with respect to such
 5
     document:
 6
                   a. The name and capacity of the person or persons who prepared the
 7
           document.
 8
                   b. The name and capacity of all addressees or recipients of the
 9
           original or copies thereof.
10
                   c. The date, if any, borne by the document.
11
                   d. A brief description of its subject matter and physical size.
12
                   e. The source of the factual information from which such document
13
           was prepared, and
14
                   f. The nature of the privilege claimed.
15
           3.      All documents produced pursuant hereto are to be produced as they
16
     are kept in the usual course of business or shall be organized and labeled
17
     (without permanently marking the item produced) so as to correspond with the
18
     categories of each numbered request hereof.
19
           4.      When appropriate, the singular form of a word should be
20
     interpreted in the plural as may be necessary to bring within the scope hereof
21
     any documents which might otherwise be construed to be outside the scope
22
     hereof.
23
           5.      All documents to be produced are documents obtained in your
24
     possession within the Time Period.
25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                                EDMONDSON IP LAW
                                                               Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                               Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                   3                  TEL. 503.336.3749 • FAX 503.482.7418
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 1
                                        DEFINITIONS
            1.   The words “and” and “or” shall be construed either disjunctively or
 2
     conjunctively as necessary to bring within the scope hereof any responses to
 3
     interrogatories, documents, or communications, which might otherwise be
 4
     construed to be outside the scope hereof.
 5
            2.   “BitTorrent” means a peer-to-peer file transfer protocol for sharing
 6
     large amounts of data over the Internet, in which each part of a file downloaded
 7
     by a user is transferred to other users. In order to distribute a large file, the
 8
     BitTorrent Protocol breaks a file into many small pieces. Users then interact
 9
     directly with each other to exchange these small pieces among each other. After
10
     a user receives all of the pieces of a digital media file, the user’s BitTorrent
11
     software client reassembles the pieces so that the file may be opened and
12
     utilized.
13
            3.   “BitTorrent Swarm” shall mean any and all data collected for the
14
     Subject Hash.
15
            4.   “Communication” means any oral or written statement, dialog,
16
     colloquy, discussion, or conversation, and also means any transfer of thoughts or
17
     ideas between persons by means of documents and includes any transfer of data
18
     from one location to another by electronical or similar means.
19
            5.   “Complaint” shall mean the Complaint, filed in this action on
20
     November 16, 2017, including attached exhibits.
21
            6.   If not expressly stated, “control” means in your possession,
22
     custody, or control and includes documents and things in the possession,
23
     custody, or control of any other person in your house, apartment, dwelling,
24
     and/or business.
25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                             EDMONDSON IP LAW
                                                            Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                            Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                  4                TEL. 503.336.3749 • FAX 503.482.7418
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 1
           7.     “Dates of Alleged Infringements” means the UTC dates referred to
     in column 4 of Exhibit A.
 2
           8.     “Defendant” means JOHN DOE, subscriber assigned IP address
 3
     73.225.38.130.
 4
           9.     “Defendant’s IP Address” means the IP address 73.225.38.130 as
 5
     alleged in Plaintiff’s Complaint.
 6
           10.    “Documents” shall mean the original or exact copies of any
 7
     tangible written, typed, printed, or other form of recorded or graphic matter of
 8
     every kind or description, however produced or reproduced, whether
 9
     mechanically or electronically recorded, draft, final, original, reproduction,
10
     signed or unsigned, regardless of whether approved, signed, sent, received,
11
     redrafted, or executed, and whether handwritten, typed, printed, photostated,
12
     duplicated, carbon or otherwise copies, or produced in any other manner
13
     whatsoever. Without limiting the generality of the foregoing, “documents” shall
14
     include correspondence, letters, telegrams, telexes, mailgrams, memoranda,
15
     including interoffice and interoffice memoranda, memoranda for files,
16
     memoranda of telephone or other conversations, and including meetings,
17
     invoices, reports, receipts and statements of account, ledgers, notes or notations,
18
     booklets, books, drawings, graphs, telephone records, video cassettes, electronic
19
     tapes, discs or other recordings, computer programs, hard drives, discs,
20
     printouts, data cards, studies, analysis, e-mails, computer files, back-up tapes,
21
     hard disks, litigation data bases and other data compilations from which
22
     information can be obtained. Copies of documents which are not identical
23
     duplications of the originals, or which contain additions to or deletions from the
24
     originals, or copies of documents which are identical duplications of the
25
     originals if the originals are not available, shall be considered to be separate
26

     REQUEST FOR PRODUCTION OF DOCUMENTS                              EDMONDSON IP LAW
                                                             Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                             Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                 5                  TEL. 503.336.3749 • FAX 503.482.7418
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 1
     documents physically in the file, folder, binder, or other filing system that are
     normally kept within the file folder, binder, or other filing system in the normal
 2
     course of business.
 3
            11.    “DMCA notice” shall mean the DMCA notices referred in
 4
     paragraph 26 of The Declaration Of Greg Lansky In Support Of Plaintiff’s
 5
     Motion For Leave To Serve A Third Party Subpoena Prior To A Rule 26(F)
 6
     Conference, attached as Exhibit B to the current document.
 7
            12.     “Entity” means any person or entity, and includes individuals,
 8
     corporations, partnerships, associations, joint ventures, firm, and other business
 9
     enterprises or legal entities, and includes both the singular and plural.
10
            13.    “Exhibit A” shall mean the document attached to the Complaint as
11
     Exhibit A, also attached as Exhibit A to the current document.
12
            14.     “Infringement Detection” shall mean any protocol, process,
13
     procedure, practice, and /or method used to determine that the Defendant has
14
     infringed the Plaintiff’s Works as alleged in Exhibit A of the Complaint.
15
            15.    “Infringement Detection Software” shall mean any computer
16
     program, manual method, automated method, third party service, and/or any
17
     process for determining that the Defendant has infringed the Plaintiff’s Works as
18
     alleged in Exhibit A of the Complaint.
19
            16.    “PCAP” shall mean the PCAP and described in paragraph 8 of the
20
     Declaration Of Tobias Fieser In Support Of Plaintiff’s Motion For Leave To
21
     Serve A Third Party Subpoena Prior To A Rule 26(F) Conference, attached as
22
     Exhibit C to the current document.
23
            17.    “Plaintiff” and “S3H” shall mean, “STRIKE 3 HOLDINGS, LLC”,
24
     the Plaintiff in this action.
25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                               EDMONDSON IP LAW
                                                              Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                              Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                  6                  TEL. 503.336.3749 • FAX 503.482.7418
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 1
           18.    “Related to” and “in relation to” shall mean directly or indirectly,
     refer to, reflect, describe, pertain to, arise out of or in connection with, or in any
 2
     way legally, logically, or factually be connected with the matter discussed.
 3
           19.    “STRIKE 3 HOLDINGS, LLC” refers to Plaintiff, Strike 3
 4
     Holdings, LLC, including its employees, agents, servants, subsidiaries, parent
 5
     company, affiliated company, and any other person or entity acting or purporting
 6
     to act on its behalf or under its control.
 7
           20.    “Subject Hash” refers to each of the hashes identified in column 2
 8
     of Exhibit A.
 9
           21.    “Torrent File” shall mean the “.torrent” file described in Paragraph
10
     18 of the Complaint.
11
           22.    “Used” means connected the device to a computer or other device,
12
     connected the device to a power source, stored files on the device, copied files to
13
     the device, copied files from the device, erased files from the device, accessed
14
     files on the device, viewed files on the device, or engaged in any combination of
15
     the foregoing.
16
           23.    The “Works” means the works identified in column 1 of Exhibit A,
17
     corresponding to the hashes in column 2 of Exhibit A.
18
           24.    “You” or “Your” refers to the person upon whom this request was
19
     propounded and any other person(s) or entity(ies) acting or purporting to act on
20
     your behalf or under your control.
21

22
                                  DOCUMENTS REQUESTED
23
           1.     A copy of the object code of the Infringement Detection Software
24
     used on the Dates Of Alleged Infringements.
25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                                EDMONDSON IP LAW
                                                               Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                               Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                   7                  TEL. 503.336.3749 • FAX 503.482.7418
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 1
           2.     A copy of the source code of the Infringement Detection Software
     that was used on the Dates Of Alleged Infringements.
 2
           3.     A copy of all third-party software licenses that were used for
 3
     Infringement Detection Software on the Dates Of Alleged Infringements.
 4
           4.     A copy of all build files of the Infringement Detection Software that
 5
     was used on the Dates Of Alleged Infringements.
 6
           5.     A copy of all validation test files for the Infringement Detection
 7
     Software that was used on the Dates Of Alleged Infringements.
 8
           6.     A copy of all documentation for Infringement Detection on the
 9
     Dates Of Alleged Infringements.
10
           7.     A copy of all expert reports regarding the testing, validation, and/or
11
     inspection of the Infringement Detection Software on the Dates Of Alleged
12
     Infringements.
13
           8.     A copy of all expert reports regarding the testing, validation, and/or
14
     monitoring of Infringement Detection.
15
           9.     A copy of any and all Documents that reference IP Addresses used
16
     to monitor the BitTorrent Swarm for Infringement Detection on the Dates Of
17
     Alleged Infringements.
18
           10.    A copy of all PCAPs from the BitTorrent Swarms that were
19
     collected for Infringement Detection on the Dates of the Alleged Infringements.
20
           11.    A copy of all Torrent Files accessed by the Infringement Detection
21
     Software corresponding to the Works.
22
           12.    A copy of all DMCA notices sent to IP address 73.225.38.130.
23
           13.    A copy of all DMCA notices sent to any internet service provider,
24
     in relation to IP address 73.225.38.130.
25
           14.    A copy of all copyright certificates related to the Works.
26

     REQUEST FOR PRODUCTION OF DOCUMENTS                              EDMONDSON IP LAW
                                                             Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                             Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                 8                  TEL. 503.336.3749 • FAX 503.482.7418
           Case 2:17-cv-01731-TSZ Document 51-1 Filed 08/09/18 Page 10 of 28




 1
           15.    A copy of all copyright depository copies related to the Works.
           16.    All Documents, for the last three years, supporting your allegation
 2
     in paragraph 3 of the Complaint that SH3 has “…more than 20 million unique
 3
     visitors to its websites each month...”
 4
           17.    All Documents supporting your allegations in paragraph 4 of the
 5
     Complaint that Defendant “…has been recorded infringing 80 movies over an
 6
     extended period of time”.
 7
           18.    All Documents supporting your allegations in paragraph 9 of the
 8
     Complaint that “…Plaintiff used IP address geolocation technology by Maxmind
 9
     Inc. (“Maxmind”)”.
10
           19.    All Documents supporting your allegations in paragraph 13 of the
11
     Complaint that “Strike 3’s subscription based websites proudly boast a paid
12
     subscriber base that is one of the highest of any adult-content sites in the world.”
13
           20.    All Documents supporting your allegations in paragraph 13 of the
14
     Complaint that “Strike 3 also licenses its motion pictures to popular
15
     broadcasters”.
16
           21.    All Documents supporting your allegations in paragraph 13 of the
17
     Complaint that “Strike 3’s motion pictures are the number one selling adult
18
     DVDs in the United States”.
19
           22.    All Documents supporting your allegations in paragraph 16 of the
20
     Complaint that “Often appearing among the most infringed popular
21
     entertainment content on torrent websites, Strike 3’s motion pictures are among
22
     the most pirated content in the world.”
23
           23.    All Documents supporting your allegations that Defendant
24
     distributed S3H’s Works, as alleged in paragraph 23 of the Complaint.
25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                               EDMONDSON IP LAW
                                                              Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                              Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                  9                  TEL. 503.336.3749 • FAX 503.482.7418
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 1
           24.    All Documents supporting your allegations in paragraph 26 of the
     Complaint that “A full copy of each digital media file was downloaded from the
 2
     BitTorrent file distribution network, and it was confirmed through independent
 3
     calculation that the file hash correlating to each file matched the file hash
 4
     downloaded by Defendant.”
 5
           25.    All Documents supporting your allegations in paragraph 27 of the
 6
     Complaint that “Defendant downloaded, copied, and distributed a complete copy
 7
     of Plaintiff’s Works”.
 8
           26.    All Documents supporting your allegations in paragraph 29 of the
 9
     Complaint that “The digital media files have been verified to contain a digital
10
     copy of a motion picture that is identical (or alternatively, strikingly similar or
11
     substantially similar) to Plaintiff’s corresponding original copyrighted Works”.
12
           27.    All Documents supporting your allegations in paragraph 30 of the
13
     Complaint that “Absent this lawsuit, Plaintiff knows of no way to effectively
14
     prevent Defendant from infringing Plaintiff’s motion pictures.”
15

16

17
                                            Respectfully submitted,
18
     Dated: May 31, 2018                             /s/ J. Curtis Edmondson
19
                                                     Attorney for Defendant
20
                                                     DOE
21

22

23

24

25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                               EDMONDSON IP LAW
                                                              Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                              Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                 10                  TEL. 503.336.3749 • FAX 503.482.7418
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 1                                                            The Honorable Marsha J. Pechman

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 6

 7                         UNITED STATES DISTRICT COURT

 8                       WESTERN DISTRICT OF WASHINGTON

 9                                       AT SEATTLE

10 STRIKE 3 HOLDINGS, LLC, a Delaware               Case No.: 2:17-cv-01731-MJP
   corporation,
11                                                  DECLARATION OF GREG LANSKY IN
                     Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
12                                                  FOR LEAVE TO SERVE A THIRD
   vs.                                              PARTY SUBPOENA PRIOR TO A RULE
13                                                  26(f) CONFERENCE
   JOHN DOE subscriber assigned IP address
14 73.225.38.130,

15                     Defendant.

16

17

18

19

20                         [Remainder of page intentionally left blank]
21

22

23

24

25

26

27 DECLARATION OF GREG LANSKY IN                                        FOX ROTHSCHILD LLP
   SUPPORT OF PLAINTIFF’S MOTION – (2:17-                        1001 Fourth Avenue, Suite 4500
28 cv-01731-MJP)                                                              Seattle, WA 98154
                                                                                 (206) 624-3600
                                                1
                                          EXHIBIT A
Case
 Case2:17-cv-01731-TSZ
       2:17-cv-01731-TSZDocument
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 1                                                            The Honorable Marsha J. Pechman

 2

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 5

 6

 7                         UNITED STATES DISTRICT COURT

 8                       WESTERN DISTRICT OF WASHINGTON

 9                                       AT SEATTLE

10 STRIKE 3 HOLDINGS, LLC, a Delaware               Case No.: 2:17-cv-01731-MJP
   corporation,
11                                                  DECLARATION OF TOBIAS FIESER IN
                     Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
12                                                  FOR LEAVE TO SERVE A THIRD
   vs.                                              PARTY SUBPOENA PRIOR TO A RULE
13                                                  26(f) CONFERENCE
   JOHN DOE subscriber assigned IP address
14 73.225.38.130,

15                     Defendant.

16

17

18

19

20                         [Remainder of page intentionally left blank]
21

22

23

24

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26

27 DECLARATION OF TOBIAS FIESER IN                                      FOX ROTHSCHILD LLP
   SUPPORT OF PLAINTIFF’S MOTION – (2:17-                        1001 Fourth Avenue, Suite 4500
28 cv-01731-MJP)                                                              Seattle, WA 98154
                                                                                 (206) 624-3600
                                                1
                                          EXHIBIT B
Case
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           Case 2:17-cv-01731-TSZ Document 51-1 Filed 08/09/18 Page 28 of 28




 1
                            CERTIFICATE OF SERVICE

 2
           I am employed in the County of Washington, in the State of Oregon. I am
 3
     over the age of 18 and not a party to the within action. My business address is
 4
     3699 NE John Olsen Ave, Hillsboro, Oregon 97124.
 5
           On May 31, 2018, I hereby certify that I served DEFENDANT’S
 6
     REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF, SET
 7
     ONE, by delivering said document, by mail and email to:
 8

 9
                 Bryan J. Case, WSBA #41781
10               Email: bcase@foxrothschild.com
                 FOX ROTHSCHILD LLP (SEATTLE)
11
                 1001 Fourth Avenue, suite 4500
12               Seattle, Washington 98154
                 Telephone: (206) 624-3600
13

14               Lincoln D. Bandlow, Admitted Pro Hac Vice
                 Email: lbandlow@foxrothschild.com
15
                 FOX ROTHSCHILD LLP (LOS ANGELES)
16               10250 Constellation Blvd., Suite 900
                 Los Angeles, California 90067
17
                 Telephone: (310) 598-4150
18               Attorneys for Plaintiff Strike 3 Holdings LLC
19

20   DATED this 31st day of May, 2018.
21

22
                                      By: /s/ Kiren Rockenstein
23                                       Kiren Rockenstein
24

25

26

     REQUEST FOR PRODUCTION OF DOCUMENTS                            EDMONDSON IP LAW
                                                           Venture Commerce Center, 3699 NE John Olsen Ave
     SET: ONE                                                           Hillsboro, Oregon 97124
     CASE NO. 2:17-CV-01731-TSZ                  1               TEL. 503.336.3749 • FAX 503.482.7418
